                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                       3:21-cv-00501-RJC-WCM

FS MEDICAL SUPPLIES, LLC,                    )
                                             )
             Plaintiff,                      )
                                             )                 ORDER
                                             )
             v.                              )
                                             )
TANNERGAP, INC. and                          )
TANNER PHARMA UK LIMITED,                    )
                                             )
           Defendants.                       )
_____________________________________        )

        This matter is before the Court on Motions to Compel that have been

filed in this action (“Tanner I”) and in FS Medical Supplies, LLC v. Tanner

Pharma UK Limited, Raymond Fairbanks Bourne, and Mary Everett

Whitehurst Bourne, No. 3:23-cv-00598-RJC-WCM (“Tanner II”). Tanner I, Doc.

134; Tanner II, Doc. 56.1

   I.     Background2

        On January 3, 2024, FSMS filed the Motions to Compel. Tanner I, Doc.

134; Tanner II, Doc. 56. TannerGAP, Inc. and Tanner Pharma UK Limited

(collectively, “Tanner”) and Raymond Fairbanks Bourne (“Bourne”) and Mary


1 The Motions appear to be identical.

2 Additional background regarding Tanner I and Tanner II can be found in a separate

Memorandum and Recommendation that is being issued contemporaneously in
Tanner I.

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Everett Whitehurst Bourne a/k/a Molly Bourne (the “Bourne Defendants”)

have filed responses, and FSMS has replied. Tanner I, Docs. 138, 140; Tanner

II, 58, 61.

         A hearing on the Motions to Compel was conducted on January 17, 2024,

following which the undersigned ruled orally on certain aspects of the Motions,

and took other issues under advisement. This Order now follows.

   II.     Discussion

           A. Asset Tracing

         FSMS seeks to obtain “more granular disclosures concerning the

whereabouts of the $200 million taken from TPUK,” Doc. 135 at 5, and

contends that a declaration submitted by Bourne indicates that the dividends

the Bourne Defendants received from TPUK are no longer separately

identifiable such that it is reasonable for FSMS to conduct asset tracing

discovery. See Tanner II, Doc. 30 (Bourne Declaration), ¶¶ 11, 13.

         The undersigned is not persuaded that FSMS has made a sufficient

showing to support asset tracing discovery of the scope and to the extent FSMS

seeks at this stage of the case. The undersigned will, however, allow FSMS to

conduct some limited discovery regarding the initial transfers of the Dividend

Payments. Specifically, the Motions to Compel are GRANTED IN PART and

DENIED IN PART as follows: to the extent Tanner and the Bourne Defendants

have not already done so, they are DIRECTED to produce information and

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documents showing the receipt by the Bourne Defendants of the Dividend

Payments. The Bourne Defendants are also directed to provide information

and documents showing any subsequent transfers by the Bourne Defendants

of any portion of the Dividend Payments in an amount over $100,000.00.3

         B. Business Prospects

      FSMS requests that the Court “order Defendants to search for and

produce all documents concerning TPUK’s business prospects relating to any

year in the period 2020 through the present (i.e., 2024), including budgets,

business plans, projections, forecasts, models, and prospect lists, as well as

documents concerning the representations to the Court in Mr. Bracey’s

declaration.” Tanner I, Doc. 135 at 16.

      As discussed during the January 17 hearing, and in light of Tanner’s

representation that its document production is underway, to the extent the

Motion to Compel seeks to compel Tanner to produce documents and

information regarding Tanner’s business prospects, the Motions are DENIED

WITHOUT PREJUDICE.




3 The Bourne Defendants are not, however, required to provide any further tracing of

the funds from the Dividend Payments at this time. That is, besides information
showing their receipt of the Dividend Payments, the Bourne Defendants are to
disclose any further initial transfers of $100,000.00 or more of the Dividend
Payments, but are not required to disclose any subsequent transfers of those funds.
This ruling is without prejudice to FSMS’s right to seek such documents and
information at a later time, if necessary.

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      To the extent the Bourne Defendants have additional responsive

information and documents regarding Tanner’s Business prospects (that is,

responsive information and documents that are not being produced by Tanner),

the Motions are GRANTED, and the Bourne Defendants are DIRECTED to

produce such information and documents.

         C. Risk of Liability Information

      FSMS seeks to compel the production of documents reflecting

“Defendants’ understanding of TPUK’s risk of liability to FSMS…,” Bourne’s

decision to issue each dividend, the timing of TPUK’s 2021 financial statement,

and communications between persons involved in deciding to declare and pay

each dividend. Tanner I, Doc. 135 at 17.

      The Motions to Compel are DENIED WITHOUT PREJUDICE with

respect to these documents.

         D. ESI Collection

      The parties’ submissions, as well as the arguments of counsel during the

January 17 hearing, indicate that many of the parties’ threshold discovery

disputes stem from disagreements regarding the timeframe for which

electronically stored information (“ESI”) should be collected from Tanner, and

the custodians from whom ESI should be gathered. Generally, FSMS advocates

for longer time frames and more custodians, while Defendants contend that

shorter time frames and a smaller group of custodians is appropriate.

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      In order to provide guidance for the parties as they move forward with

discovery, and to ensure that the parties’ discovery efforts are proportional to

the needs of this case, the undersigned will impose certain limitations on the

initial gathering of ESI from Tanner. However, the undersigned expresses no

opinion regarding the relevance of materials that are beyond the limitations

agreed to by the parties or imposed by this Order, and this Order does not

constitute a finding that documents that are not captured during the initial

collection of ESI are not discoverable. The parties should work together

cooperatively as much as possible to revise collection timeframes, custodians,

and search terms (in addition to any other matters related to ESI protocols), if

necessary, as the case proceeds.

                1. Timeframe

      With respect to the initial collection of ESI, the undersigned finds that

one, consolidated timeframe is appropriate. Accordingly, the Motions to

Compel are GRANTED IN PART, and Defendants are instructed to collect ESI

from the period beginning May 1, 2020 (one month prior to the beginning of

the parties’ interactions) and ending on October 5, 2023 (the date of the filing

of FSMS’s Amended Complaint in Tanner II).




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                2. Custodians

     With respect to FSMS’s request that Chin Okeke, Kerry Tustain,

Catherine Williams, and Lorena Mora be added as additional custodians, the

Motions to Compel are DENIED WITHOUT PREJUDICE.

     With respect to FSMS’s request that William Taylor and William Boddy

be added as additional custodians, the Motions to Compel are DENIED.

     It is so ordered.
                                  Signed: February 12, 2024




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